Case 4:21-cr-00087-ALM-CAN Document 1 Filed 04/15/21 Page 1 of 3 PageID #: 1




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

 UNITED STATES OF AMERICA §
                                               §
 v.                            §                           No. 4:21-CR- 8rl
                                              §            Judge
 KEIVIN HERVY §
                                                                             FILED
                                                                         U.S. DISTRICT COU T
                                                                      E STE N DISTRICT OF TEX S

                                    INDICTMENT                            APR 1 5 2021
The United States Grand Jury Charges:
                                                                   BY DEPUTY

                                      COUNT ONE

                                                      V olation: 18U.S.C. § 922(g)(1)
                                                      (Felon in Possession of a Firearm)

      On or about November 8,2020, in the Eastern District of Texas, defendant KEIVIN

HERVY, knowing he had previously been convicted of a crime punishable by

imprisom ent for a term e ceeding one year, did knowingly possess in and affecting

interstate commerce a firearm, to-wit: A Rohm, Model RG38, 38 Caliber Revolver, bearing

Serial Number 175417 .

      In violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).




        NOTICE OF INTENTION TO SEEK CRIMINAL FORFEITURE

                  Criminal Forfeiture Pursuant to 18 U.S.C. § 924(d)
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       As a result of committing the felony offense in violation of 18 U.S.C. § 922(g)(1)

alleged in Count One of this Indictment, defendant, KEIVIN HERVY, shall forfeit to the

United States, pursuant to 18 U.S.C. § 924(d) all firearms and ammunition involved in

the offense, including but not limited to the following:

   1. Rohm, Model RG38, 38 Caliber Revolver, bearing Serial Number 175417;
   2. Bushmaster pistol, 5.56, SN: GC/BM-P-J00296-000I;
   3. Any Ammunition associated with the case.




                                                           A TRUE BILL




                                                           FOREMAN



NICHOLAS J. GANJEI
ACTING UNITED STATES ATTORNEY
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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

 UNITED STATES OF A ERICA §
                                                §
 V.                                             § No. 4:21-CR- ) <
                                                § Judge
 KEIVIN HERVY                                   §


                                NOTICE OF PENALTY

                                        Count One

      Violation:            18 U.S.C. § 922(g)(1)

      Penalty:              Imprison ent of not more than ten years, a fine not to exceed
                            $250,000, or both; a term of supervised release of not more
                            than three years.

                            If it is shown the defendant has three previous convictions by
                            any court for a violent felony or a serious drug offense, or
                            both, committed on occasions different from one another -
                            Imprisomnent of 15 years to life, a fine not to exceed
                            $250,000.00, or both; a term of supervised release of at least
                            3 years but not more than 5 years.



      Special Assessment:   $ 100.00
